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DJB/MLARS: USAO#2021R0089-TLF

IN THE UNITED STATES DISTRICT COURT... nic -3 PM 3:06

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FOR THE DISTRICT OF MARYLAND ~~

UNITED STATES OF AMERICA

v. — CRIMINAL NO. eat CR 5 oh

RYAN FARACE and . (Conspiracy to Commit Money
JOSEPH FARACE “ Laundering, 18 U.S.C. § 1956;
‘ Forfeiture, 18 U.S.C. § 982 and
Defendants. . 21 U.S.C. § 853)
INDICTMENT
COUNT ONE

The Grand Jury for the District of Maryland charges that:

1. Defendant RYAN FARACE was from, at least 2013 to November 2018, a
resident of Maryland. Since in or about November 2018, RYAN FARACE has been
incarcerated at a federal correctional institution located outside of Maryland.

2. At all relevant times, Defendant JOSEPH FARACE was a resident of Maryland.

3. In November 2018, RYAN FARACE was convicted of one count of conspiracy
to manufacture, distribute, and possess with the intent to distribute alprazolam, a Schedule IV
controlled substance, in violation of the Controlled Substances Act, 21 U.S.C § 846, and one
count of conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h).

4. As part of the sentence for his 2018 convictions, RYAN FARACE was ordered
to forfeit cash, digital currency, and various items of personal property. RYAN FARACE was
also subject to a forfeiture money judgment of $5,665,000 U.S. dollars and 4000 bitcoins, which
constituted property derived from or involved in RYAN FARACE?’s unlawful drug trafficking

and money laundering activities.
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The Charge
5. From at least October 2019 until in or about April 2021, in the District of
Maryland and elsewhere, the Defendants,
RYAN FARACE and
JOSEPH FARACE,

knowingly combined, conspired, confederated, and agreed with each other and with other
persons known and unknown to the Grand Jury to commit money laundering, in violation of
Title 18, United States Code, Section 1956, to wit, to knowingly conduct and attempt to conduct
a financial transaction affecting interstate and foreign commerce, which transaction involved the
proceeds of specified unlawful activity—that is, conspiracy to manufacture, distribute, and
possess with the intent to distribute alprazolam, a Schedule IV controlled substance, in violation
of Title 21, United States Code, Section 846—knowing that the property involved in the
financial transaction represented the proceeds of some form of unlawful activity and that the
transaction was designed in whole and in part to conceal and disguise the nature, location,
source, ownership, and control of the proceeds of said specified unlawful activity, all in violation

of Title 18, United States Code, Section 1956(a)(1)(B)(i).

18 U.S.C. § 1956(h)
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FORFEITURE NOTICE
Pursuant to Rule 32.2, notice is hereby given to the Defendants that the United States will
seek forfeiture as part of any sentence in accordance with Title 21, United States Code,
Section 853, in the event of the Defendants’ convictions under Count One of this Indictment.
Money Laundering Forfeiture
1. Upon conviction of the offense alleged in Count One, the Defendants,

RYAN FARACE and
JOSEPH FARACE,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(1), any
property, real or personal, involved in such offense, and any property traceable to such property,

including, but not limited to:

a. 2874.904256 bitcoin seized on or about February 10, 2021 (Asset ID
21-DEA-674483);

b. 58.742155166 bitcoin seized on or about May 11, 2021 (Asset ID
21-DEA-678181); and

c A sum of money equal to the value of the property involved in the offense.
Substitute Assets
2. If, as a result of any act or omission by the Defendants, any such property subject
to forfeiture:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
e has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been comingled with other property which cannot be subdivided

without difficulty,
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it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C.

§ 982(b)(1), to seek forfeiture of any other property of the Defendants up to the value of the

property subject to forfeiture as set forth in the paragraph above.

18 U.S.C. § 982(a)(1) and (b)(1)
21 U.S.C. § 853(p)

A.TRUE.BILL:

SIGNATURE REDACTED

FOREPERSON

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Deborah Connor
Chief

Money Laundering and Asset Recovery Section
Criminal Division
